                         Case 3:06-cr-00194-JCH Document 17 Filed 10/06/12 Page 1 of 2
                                                                                                                                    Criminal Std (6/13/2012)
                                                                      H ON ORABLE: Janet C. Hall
                                                   DEPUTY CLERK Diahann Lewis        RPTR/ECRO/TAPE Terri Fidanza
                                                   USPO Ray Lopez                    INTERPRETER
TOTAL TIM E:                hours 15     minutes
                                                   D ATE: 10/6/2012 START TIM E: 8:09                             EN D TIM E: 8:40
                                                         COURTROOM MINUTES
  IA-INITIAL APPEAR                       BOND HRG                           CHANGE OF PLEA                      IN CAM ERA HRG
  IA- RULE 5                              DETENTION HRG                        WAIVER/PLEA HRG                   COM PETENCY HRG
  ARRAIGNMENT                             PROBABLE CAUSE                       EXTRADITION HRG                   FORFEITURE
  CONFLICT HRG                            EVIDENTIARY HRG                    STATUS CONF                         MOTION HRG



     CRIM INAL NO. 3:06cr194                              DEFT # ______                    Steven Reynolds
                                                                                           AUSA
                UNITED STATES OF AMERICA
                          vs                                                             Richard Reeve
                       Syed Talha Ahsan                                                  Counsel for Defendant Ret          CJA           PDA



  . . . . . . . Deft failed to appear. Oral M otion for issuance of Warrant      granted      denied       Bond FORFEITED
  ......      Arrest Date (C T Case): 10/6/2012                  Case unsealed or       Rule 5 arrest,            Dist of
  . . . . . . CJA 23 Financial Affidavit filed      under seal
  . . . . . . Order Appointing Federal Public Defender’s Office filed
  . . . . . . Court appoints Attorney Richard Reeve                      to represent defendant for       this proceeding only         all proceedings
  . . . . . . Appearance of                                                          filed
  ......       Complaint filed         Sealed Complaint filed         Affidavit of                                          filed
  ......       Information/M isdemeanor filed             Sealed Information filed
  ......       Waiver of Indictment (case opening) filed              Felony Information filed
  ......       Waiver of Indictment (mid case) filed             Superseding Information filed
  . . . . . . Plea Agreement Ltr filed       under seal      to be e-filed
    . . . . . . Plea of    not guilty   guilty    nolo contendere to count(s) 1, 2 and 3   of the Indictment
  . . . . . . Petition to Enter Guilty Plea filed                                                 (indict, superseding indict, info)
  . . . . . . Defendant motions due 10/29/2012                   ; Government responses due 11/12/2012
  . . . . . . Scheduling Order       filed    to be filed   Sentencing Scheduling Order
  . . . . . . . Hearing on Pending M otions scheduled for                       at
  . . . . . . Jury Selection set for 12/3/2012                       at 9:00 a.m.
  . . . . . . Remaining Count(s) to be dismissed at sentencing
  . . . . . . Sentencing set for                            at                          Probation 246B Order for PSI & Report
  . . . . . . Special Assessment of $___________ on count(s)___________. Total $ _________         Due immediately    Pay at sentencing
  . . . . . . Govt’s M otion for Pretrial Detention filed       GRANTED            DENIED        ADVISEMENT
  . . . . . . Govt’s ORAL M otion for Pretrial Detention     GRANTED          DENIED               ADVISEMENT
  . . . . . . Order of Detention filed
  . . . . . . Deft ordered removed/committed to originating /another District of
  . . . . . . No bond set at this time, Order of Temporary Detention Pending Hearing              filed      to be filed
  . . . . . . Waiver of Rule 5 Hearing filed
  . . . . . . Govt’s M otion for waiver of 10-day notice         GRANTED       G DENIED G ADVISEMENT
  . . . . . . Bond     set at $                           reduced to $                       Non-surety       Surety       Personal Recognizance
  . . . . . . Bond    revoked         reinstated    continued       modified
  . . . . . . Defendant detained
  . . . . . . Status        Hearing       waived     set for 10/15/2012 @ 11:00                   continued until
  . . . . . . Set Attorney Flag and notify Federal Grievance Clerk
                                                                 SEE page II for       conditions of bond       additional proceedings
                       Case 3:06-cr-00194-JCH Document 17 Filed 10/06/12 Page 2 of 2


                                                       CONDITIONS OF BOND



. . . . . Travel restricted to Connecticut of extended to
          upon obtaining permission from USPO. A motion for any other travel with copies to the Govt and to USPO must be filed
          and approved by the Court.

 . . . . . Deft must reside at


. . . . . . Deft must report to USPO               times a   G week Gmonth G by telephone G in person G at USPO             discretion.

. . . . . . Deft    must surrender passport by 4: 00 p. m. on                   ;       M ust not apply for a passport.

. . . . . . . Deft must refrain from the possession of firearms or dangerous weapons.

. . . . . . Deft must maintain employment or actively seek employment.

. . . . . . Deft must refrain from use or unlawful possession, or distribution of a narcotic drug.

. . . . . . as set forth in the Order Setting Conditions of Release

. . . . . . . AUSA notes on the record that counselor notification form was faxed to U.K. Counselor Services.




                                                  ADDITIONAL PROCEEDINGS



. . . . . . Deft’s oral motion                                                                         granted    denied     advisement
...... Deft’s oral motion                                                                              granted    denied      advisement
. . . . . . . Deft’s oral motion                                                                       granted    denied      advisement
. . . . . . . Deft’s oral motion                                                                       granted     denied      advisement
. . . . . . Govt’s oral motion                                                                         granted     denied     advisement
. . . . . . Govt’s oral motion                                                                         granted    denied      advisement
. . . . . . Govt’s oral motion                                                                         granted    denied      advisement
. . . . . . Govt’s oral motion                                                                         granted     denied     advisement
...... #           Deft                      M otion                                                   granted     denied     advisement
...... #           Deft                      M otion                                                   granted     denied     advisement
...... #           Govt M otion                                                                        granted     denied     advisement
...... #           Govt M otion                                                                        granted     denied     advisement
......                                                                                        filed    granted    denied      advisement
 ......                                                                                       filed    granted     denied     advisement
......                                                                                        filed    granted    denied     advisement
......                                                                                        filed    granted    denied     advisement
......                                                                                         filed    granted    denied    advisement
